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                          Johnson & Johnson’s Rampant Fraud
                               Now Embraces Lawyers
                                     An Open Letter to the Legal Community

                  Dear Colleagues and Members of the Legal Community:

                  By the first week of June we expect Johnson & Johnson to begin the DIRECT
                  SOLICITATION OF LAWYERS AND THEIR CLIENTS to seek approval for the
                  company’s ongoing SCAM of a funded and pre-packaged bankruptcy. A key part of this
                  effort is likely to be their pile on of fantasy cases IN BANKRUPTCY COURT most of
                  which are legally unenforceable claims that have no relevance to the thousands of
                  legitimate ovarian cancer and mesothelioma lawsuits that have been fully vetted. To do
                  that, they need the cooperation of lawyers who signed thousands of these cases up,
                  sometimes even knowing that they were UNTRIABLE. The lawyers J&J are counting on
                  are lawyers who simply rolled the dice and are hoping for an easy out. The problem
                  with that is that REAL PEOPLE with REAL DISEASE are dying horrendous deaths every

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                  day and J&J has for years committed rank FRAUD in order to avoid compensating
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                  them. All the while this fraud has occurred J&J has claimed it was worth
                  450 BILLION DOLLARS.

                  The biggest tragedy here is that a few mass tort lawyers have now agreed that this J&J
                  FRAUDULENT SCAM is somehow acceptable. But they are knowingly BEING USED by
                  J&J to stuff the ballot box in J&J’s favor with cases that most folks reading this memo
                  would have NEVER ACCEPTED. In the meantime, many ovarian cancer claimants have
                  waited for years to have their cases heard while J&J has pursued one scam tactic
                  after another.

                  THE MATH IS SIMPLE. The magical appearance of tens of thousands of
                  unsubstantiated cases could dilute the entire pool of plaintiffs and theoretically
                  provide a way to reach the 75% percent approval needed for the pre-pack to move
                  forward. The most troubling part of their plan is that they are counting on you through
                  direct solicitation to ultimately be the final step in their MULTI-DECADE FRAUD.

                  As you all know, the most effective way to deal with blatant fraud is to SUE, TAKE
                  DEPOSITIONS of everyone involved and allow a jury to hear about conduct that can
                  easily be characterized as the ugliest we have seen in corporate conduct in a hundred
                  years. For that reason, SEVERAL FIRMS representing the victims of ovarian cancer
                  caused by J&J’s talc products have FILED a proposed CLASS ACTION in New Jersey
                  federal court seeking to expose the series of FRAUDULENT TRANSFERS that have
                  supported J&J’s bankruptcy strategy.

                  A copy of that complaint is available here.

                  The filing outlines the three key mileposts of J&J’s efforts during the past three years
                  to evade responsibility for the cancer-causing effects of baby powder:

                          The creation of a SHELL COMPANY through a divisive merger or “Texas Two-
                          Step” to assume all talc-related liabilities, leaving other valuable corporate
                          entities untouched.
                          The transfer of corporate assets from an existing consumer health division into a
                          new entity known as Kenvue to create an additional, SCAM SHIELD for J&J
                          assets from litigation liability.
                          The fraudulent replacement of a $61 BILLION funding agreement from the first
                          failed bankruptcy with one capped at $29.9 billion, without any equivalent value
                          in return.

                  Any one of these actions could meet the definition of a fraudulent transfer, but
                  together they represent the most clear and undeniable criteria of fraud ever seen in
                  consumer product litigation. And now J&J is proposing a fund of less than $7 billion to
                  settle all talc-related claims, an amount that would cover only a fraction of the true
                  costs families incur with this deadly disease. THAT IS AFTER THEY HAVE TRIED TO
                  HIDE $61 BILLION FROM THE INJURED FOLKS YOU REPRESENT.


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                  We will continue to make you aware of any new developments with the class action,
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                  J&J’s solicitations, and other important news about the litigation. In fact, we will send
                  you all the J&J DOCUMENTS AND DEPOSITIONS YOU OBVIOUSLY WOULD NEED
                  TO REVIEW to be FULLY INFORMED before you made any of the J&J
                  recommendations to your clients. The good news is that you can SEND YOUR CLIENTS
                  a small taste of exactly how disgusting J&J conduct has been throughout six decades
                  along with the overwhelming science that shows how TALC CAUSED THEIR CANCER.
                  When you review this material, you will conclude that the existing recommendations
                  by J&J are ridiculous. Your client will as well.

                  We also appreciate that each of you will carefully consider your professional
                  obligations to resist any settlement proposal by J&J that diminishes realistic
                  compensation for ovarian cancer clients and remain steadfast on behalf of your clients.

                  Please let us know immediately of any questions or concerns.



                                Mike Papantonio                                                Andy Birchfield

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